                     UNITED STATES DISTRICT COURT
                     MIDDLE DISTRICT OF TENNESSEE
                           COLUMBIA DIVISION

CLANT M. SEAY,                          )
                                        )
           Plaintiff                    )
                                        )     No. 1:16-0068
v.                                      )     Chief Judge Crenshaw/Brown
                                        )     Jury Demand
BUCKY ROWLAND in his official           )
capacity as Sheriff of Maury            )
County, Tennessee, et al.,              )
                                        )
           Defendants                   )

TO: THE HONORABLE WAVERLY D. CRENSHAW, JR.

                        REPORT AND RECOMMENDATION

           Presently    pending    is   the   Plaintiff’s   motion    for     a

preliminary injunction (Docket Entry 152), which was supported by

a memorandum of law (Docket Entry 153). The motion has been

responded to by various of the Defendants (Docket Entries 156, 157,

158 and 160). The Plaintiff has filed a reply (Docket Entry 159).

For the reasons stated below, the Magistrate Judge recommends that

the motion for preliminary injunction be denied.

                                BACKGROUND

           This litigation began in August 2016 with a verified

complaint by the Plaintiff Clant M. Seay, proceeding pro se. An

initial case management order was entered on January 17, 2017. In

that order the Plaintiff’s theory of the case (Docket Entry 24) was

set out as follows:

     Animal cruelty to Tennessee Walking Horses has been
     perpetrated and embedded in the Middle Tennessee culture
     since the 1960s. Native Tennessean MTSU Horse Science




  Case 1:16-cv-00068 Document 161 Filed 05/22/18 Page 1 of 7 PageID #: 2078
   Professor Equine Vet Dr. John Haffner says the “Big Lick”
   “is a “pain induced” gait and “is a business built on the
   suffering and pain of horses.” With the advent of social
   media, concerned animal welfare advocates (local
   citizens), and plaintiff (adjudicated as a news reporter
   (Maury County Circuit Court Order Sep. 29, 2015 – State
   of Tennessee vs. Jamie Brandon Lawrence, Criminal
   #24363),have attended “Big Lick” horse shows in public
   venues in Tennessee, Mississippi, Florida and North
   Carolina, where they have made videos and taken
   photographs documenting “Big Lick”animal cruelty, and
   “the culture” which supports it. These videos/photos have
   been published on the internet to inform the public.
   These have reached more than 6,000,000 persons, and been
   viewed over 3,000,000 times. On June 3, 2016, CCABLAC
   (Citizens Campaign Against “Big Lick” Animal Cruelty)
   animal welfare advocates (Tennesseans), and plaintiff
   paid the admission price and attended the Columbia Spring
   Jubilee Horse Show held in the public Maury County Park
   where they peacefully exercised their First Amendment
   rights which included making videos and taking
   photographs. State actor Maury County (TN) Sheriff Bucky
   Rowland approached and ordered them to turn off their
   video cameras and threatened “criminal liability” if they
   did not. It appears that Sheriff Bucky Rowland was either
   “influenced by” - “conspired with” – or was“manipulated”
   by persons in an effort to intimidate, threaten,
   interfere with and deprive the Plaintiff and the animal
   welfare advocates in exercise of their First and
   Fourteenth Amendment constitutional rights. Sheriff
   Rowland is responsible for law enforcement in public
   parks in Maury County. His constituent, Mr. David Sisk,
   is the President of the Maury County Horsemans
   Association which sponsored the Columbia Spring Jubilee,
   June 2-4, 2016. Mr. Sisk is a wealthy“Big Lick” Tennessee
   Walking Horse breeder, exhibitor and judge who publicly
   stated that he owns $500,000.00 of “Big Lick” Tennessee
   Walking Horses. Mr. Jerry Harris is a “Big Lick”advocate
   who makes his living videoing “Big Lick” horse shows, and
   hosting a cable television show which promotes the “Big
   Lick” Tennessee Walking Horse culture and “way of life”.
   Neither Mr. Sisk nor Mr. Harris wanted the Plaintiff nor
   the CCABLAC animal welfare advocates to make videos at
   the Columbia Spring Jubilee Horse Show, and put them on
   the internet for the purpose of informing the public of
   the animal cruelty. Mr. Sisk, Mr. Harris and possibly
   others, apparently conspired with, influenced, persuaded
   and/or manipulated Sheriff Bucky Rowland, to attempt to

                                    2



Case 1:16-cv-00068 Document 161 Filed 05/22/18 Page 2 of 7 PageID #: 2079
     stop CCALAC advocates from exercising their First
     Amendment constitutional rights at the Maury County Park
     in Columbia, Tennessee. Discovery is necessary to get to
     the bottom of what happened. A video made by Plaintiff
     shows a “Big Lick” patron verbally assaulting and
     threatening a peaceful CCABLAC animal welfare advocate,
     and also taking a swing at a news reporter, while Sheriff
     Bucky Rowland’s Chief Deputy Mr. Ray Jeter simply looked
     on and did nothing to dissuade the threatening actions of
     the “Big Lick” aggressor. Another video shows Chief
     Deputy Ray Jeter working in conjunction with Mr. Jerry
     Harris who was unhappy with the Plaintiff and CCABLAC
     advocates exercising their First and Fourteenth Amendment
     rights in the Maury County Park. There is an “alleged”
     Agreement entered into by Mr. Sisk with Mr. Harris
     regarding “copyrights” in an attempt to deprive horse
     show patrons exercising their constitutional rights.
     Despite repeated request, the “alleged” agreement was not
     provided to plaintiff by Horse Show Manager Mr. Sisk.

            Since the June 3, 2016, show which sparked the complaint

in this matter, a subsequent show was held in June 2017 and another

is scheduled for May 31 - June 2, 2018.

            For the 2017 show the parties entered into an agreed

stipulation (Docket Entry 45) concerning the activities of the

Sheriff’s Department. As a result of this order the Plaintiff

withdrew his motion for a preliminary injunction (Docket Entry 33).

            Again, on August 7, 2017 (Docket Entry 76) the parties

entered into an agreed joint stipulation and order concerning the

2017 PC Splash Horse Show. In that order the Maury County Sheriff’s

Department agreed to refrain from engaging in any discussion with

protestors,    show   patrons,    show    management,    or   anyone    else

concerning the contracts dealing with copyright or video rights for

the show.




                                      3

  Case 1:16-cv-00068 Document 161 Filed 05/22/18 Page 3 of 7 PageID #: 2080
             The Plaintiff asked the Sheriff’s Department to sign a

similar agreement for the May/June 2018 horse show. The Defendants

declined to sign such an agreement, alleging that the Plaintiff had

misstated the agreement and, in effect, attempted to publicize it

as an admission of liability.

             After a telephone call with the undersigned about the

matter, which was summarized in the undersigned’s order of May 9,

2018   (Docket   Entry   154),     the       Plaintiff    filed     a    motion    for

preliminary injunction (Docket Entry 152) and attached as Exhibit

152-2 a proposed order similar to that previously entered (Docket

Entry 76).

                            LEGAL DISCUSSION

             The four factors for the issuance of a preliminary

injunction are well known.

       1.    The plaintiff’s       likelihood      of     success       on   the
             merits;

       2.    whether the plaintiff will suffer irreparable
             injury without a preliminary injunction;

       3.    whether an issuance of the preliminary injunction
             would cause substantial harm to others; and

       4.    whether the public interest would be served by
             issuance of a preliminary injunction.

 McNeilly v. Land, 684 F.3d 611, 615 (6th Cir. 2012).

             After   considering    the       arguments    of   counsel       at   the

telephone conference and the brief the Magistrate Judge is of the

opinion that the Plaintiff has not met this burden. The Plaintiff

points out to threats by a nonparty against a member of a group of


                                         4

  Case 1:16-cv-00068 Document 161 Filed 05/22/18 Page 4 of 7 PageID #: 2081
volunteers he encouraged to attend horse shows and protest the

treatment of the horses in 2016. He has not cited any actual

violence in the two horse shows where the parties entered into a

stipulated agreement concerning security and management of the

shows. He has provided no information that actions from 2016 are

likely to occur as to difficulties with the show later this month.

In fact, the evidence has shown that the last two shows have been

incident free.

            The Sheriff has provided an affidavit (Docket Entry 160)

that he will provide the same security that was used in 2017 and

that he has no intention of having his deputies getting into any

discussion with protestors, show patrons, show management, or

anyone else concerning any contracts or dealing with contract

enforcement (Docket Entry 160-1). This horse show is two years

removed from the horse show which precipitated this litigation.

            The Plaintiff has produced no evidence that any of the

named Defendants have sought to prevent any individual intending to

protest this horse show from attending or from otherwise protesting

the show.

            At the present time the Plaintiff has not shown a strong

likelihood of success. There are motions for summary judgment

seeking to dismiss his claims by all Defendants.

            Whether the Plaintiff succeeds on the merits or not, it

does not directly affect the present request for a preliminary

injunction. As noted above, the Plaintiff has produced no proof


                                      5

  Case 1:16-cv-00068 Document 161 Filed 05/22/18 Page 5 of 7 PageID #: 2082
that anyone will attempt to prohibit him or any members of the

group he has associated with from attending or filming the horse

show. Without such proof it is impossible to conclude that the

Plaintiff will suffer irreparable injury without a preliminary

injunction. The fact that the Sheriff has stated under oath that he

will provide the same protection that was used in last year’s

peaceful show is strong evidence that the Plaintiff will not suffer

irreparable harm.

           It should also be noted that the Plaintiff, proceeding

pro se, represents only himself. The Plaintiff is not authorized to

seek relief for other members who may attend the horse show.

           The Plaintiff is correct that the issuance of such a

preliminary injunction would not cause substantial harm to others

since in essence as the Sheriff is agreeable to providing the same

level of protection as previously provided.

           Finally, the Plaintiff has not shown that the issuance of

such an injunction would be in the public interest. Given the

absence of a demonstrated threat, the Courts are in a poor position

to manage law enforcement activities in situations of this nature.

It is particularly true when the Sheriff has given detailed

affidavit of the security that will be used and that was successful

last year. To the extent the Court would order increased security

at one show means there may be less security for parts of the

county. Decisions like this are best left to law enforcement




                                      6

  Case 1:16-cv-00068 Document 161 Filed 05/22/18 Page 6 of 7 PageID #: 2083
officials absent strong evidence they will ignore their sworn duty.

Such evidence is lacking.

           In short, the Plaintiff is simply speculating as to

difficulties he may incur this year based on what was alleged to

have occurred two years ago.

                              RECOMMENDATION

           The Magistrate Judge, as set forth above, recommends that

the Plaintiff’s motion be denied.

           Under Rule 72(b) of the Federal Rules of Civil Procedure,

any   party   has   14   days    from       receipt   of   this   Report   and

Recommendation in which to file any written objections to this

Recommendation with the District Court. Any party opposing said

objections shall have 14 days from receipt of any objections filed

in this Report in which to file any responses to said objections.

Failure to file specific objections within 14 days of receipt of

this Report and Recommendation can constitute a waiver of further

appeal of this Recommendation. Thomas v. Arn, 474 U.S. 140 106 S.

Ct. 466, 88 L.Ed.2d 435 (1985), Reh’g denied, 474 U.S. 1111 (1986).

           ENTER this 22nd day of May, 2018.

                                            /s/ Joe B. Brown
                                            JOE B. BROWN
                                            United States Magistrate Judge




                                        7

  Case 1:16-cv-00068 Document 161 Filed 05/22/18 Page 7 of 7 PageID #: 2084
